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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY




    Jenyé Viki KNOX,                                      Civ. No. 2:13-5875
                                                              (KM)(MAH)
                Plaintiff,

          V.
                                                               OPINION

    UNION TOWNSHIP BOARD OF
    EDUCATION et al.,

                 Defendants.



   KEVIN MCNULTY, U.S.D.J.:

         Plaintiff Jenyë Viki Knox, a public school teacher, was suspended
   after making comments on Facebook expressing her religious-based
   disapproval of a school billboard that contained homosexual content, and
    of homosexuality in general. The school board brought tenure charges
    against her before the Commissioner of Education, aimed at obtaining
    her dismissal. Knox entered into a settlement agreement with the board,
    under which she voluntarily resigned and refunded the salary paid to her
    during her suspension. The settlement agreement did not include any
    more general release of federal or state law claims. Knox has now
    brought this action, claiming that the school board and its employees
    discriminated against her on the basis of her race and religion, violated
    her rights under the First, Fifth, and Fourteenth Amendments to the
    United States Constitution, and violated her rights under the Free
    Exercise and Enjoyment of Religion Clauses of the New Jersey
    Constitution. She seeks monetary damages and injunctive relief,
    including reinstatement to her teaching position.



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            Now before the court is Defendants’ motion (ECF No. 6) to dismiss
   the complaint. As grounds for dismissal, they cite Younger abstention,
   the primary jurisdiction doctrine, and failure to state a claim pursuant to
    Federal Rule of Civil Procedure 12(b)(6). (ECF No. 1). For the reasons set
   forth below, the motion to dismiss is granted in part and denied in part.

       I.        BACKGROUND

            A.    Allegations of the complaint
                                     1

            The plaintiff, Jenyé Viki Knox, is a New Jersey resident who was
   employed as a special education teacher at the Union Township High
   School. (Compl.     ¶J7, 14). Knox is African-American, a fact relevant to her
   claims of discrimination. (Id. ¶18).

            Defendant Union Township Board of Education (the “Board”) is a
   public entity established, organized, and authorized under the laws of
   New Jersey, with the authority to sue and be sued. (Id. ¶8). District-wide,
   the Board develops, adopts, implements, and enforces school policies. As
   most relevant here, the Board administers, operates Union Township
   High School (the “School”), and supervises the School’s employees. (Id.
    ¶9).

            Defendant Dr. Patrick Martin is the Superintendent of the Union
   Township High School District (“District”). (Id.       ¶ 11). Martin administers
   the Board’s policies regarding teacher activities on and off campus. (Id.).

            Defendant James Damato is the attorney for the Board. (Id.          ¶ 13).
   Defendant Edward Gibbons is the principal of the School. (Id.           ¶ 12).
   Damato and Gibbons have administrative duties in the School, where
   they oversee the activities of teachers and student clubs. (Id. ¶J12_13).2



         The facts that follow are taken from the complaint (ECF No. 1). Solely for
   purposes of the Rule 12(b)(6) motion to dismiss, they are assumed to be true.
   2        I will refer to the Defendants collectively as the “School Defendants.”


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          Knox was first employed as a special education teacher on January
    1, 2000. (Id. ¶14). She was granted tenure on January 2, 2003. (Id. ¶15).
    Throughout her employment, Knox has remained in good standing and
    has received good evaluations. (Id. ¶ 16).

          At the School, Knox held two ancillary positions of a religious
    nature. She was the academic advisor for The Seekers Club, which is a
    Christian Bible study group, and she was the advisor for the School’s
    Gospel Choir. (Id. ¶19). Knox was also an ordained minister. (Id.). The
    School Defendants knew she held these positions. (Id.).

           In September 2011, Knox posted a public message on Facebook
    stating that a school billboard that promoted alternative lifestyles did not
    accord with her religious beliefs. (Id.    ¶ 17).   Knox’s Facebook posts,
    discussed herein, were not done using school equipment or during
    school hours. (Id.). Facebook users commented on Knox’s post, and Knox
    responded. (Id. ¶ 18). Her responses included an explanation of her
   religious objections to the billboard; statements about the Bible and
   homosexuality; characterizations of homosexuality as a sin and
   disobedience to God; and descriptions of salvation through Jesus Christ.
   (Id.). Knox’s comments prompted racist posts from other users, who are
   not identified. (Id.).

          On or about October 11, 2011, the School Defendants became
   aware of Knox’s Facebook posts. (Id. ¶20). Without prior notice, Knox
   was removed from her classroom. The removal took place during school
   hours, in front of her students and other teachers. (Id.). Knox was taken
   to a small room; present there were Defendant Damato, Assistant
   Superintendent Greg Tatum, and Vice President of Union Township
   Education Association (“UTEA”)
                         3 Jim Gross. (Id.).



          UTEA represents the teachers in the district.


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          Knox was asked about the Facebook posts. (Id. ¶21). She alleges
   that she “was then pressured by these individuals to say that her
   religious beliefs were wrong, and felt extremely intimidated by them.”
   (Id.). She alleges that the individuals spoke critically about her religious
   beliefs and her expression of them. (Id.). Those individuals did not
   discuss or express “dismay” about any of the racist third-party
   comments to her Facebook posts. (Id.). That silence, says Knox,
   amounted to “tacit[] approv[al] of the racism she was subject to.” (Id. 22).

        Apparently Knox returned to the classroom. On October 13, 2011,
   however, she was again removed from her classroom. (Id. ¶23). UTEA
   President Ann Margaret Shannon took Knox aside and “told [Knox]
   privately to do whatever she was told without questioning it.” (Id. ¶24).
   Knox was then questioned, this time by Superintendent Martin, Principal
   Gibbons, and Shannon. (Id.) Martin told Knox that she would be
   suspended with pay because of her Facebook posts. (Id.).

           Knox alleges that no one at this second meeting mentioned the
    racist comments to her Facebook posts. Instead, they “did precisely what
    the racists had advocated for on the Facebook posts and removed [Knox]
    from her position.” (Id. ¶25). Knox alleges that her suspension was not
    accompanied by due process. (Id.). The suspension, she says, was “part
    of the ongoing pattern of intimidation the Board leveled against [her] as a
    result of her religious beliefs and/or race,” and it “represented the
    Board’s attempt to undermine [her] reputation and humiliate her.” (Id.)

          Following her suspension, Knox was taken back to her classroom.
    She was told to take her personal belongings and leave the School. (Id.
    ¶26). This, too, occurred in front of her students and other teachers,
    causing her “further humiliation and embarrassment.” (Id.).

         On October 18, 2011, the Board held a public meeting. The
    purpose of this meeting, Knox alleges, was to continue the Board’s



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   “program of intimidation and humiliation against her.” (Id. ¶27).

         On December 23, 2011, the Board’s attorney, Damato, informed
   Knox that she would be suspended without pay and that Tenure Charges
   would be filed against her.
                          4 (Id. ¶29).

         Following these events, Knox’s health allegedly deteriorated. On
   June 30, 2012, she resigned from her teaching position as a result of
   “the stress of the intimidation, harassment, and emotional distress that
   resulted from the investigation and the Defendants’ actions.” (Id. ¶30—31
   and Ex. A).

         B.      Other facts from the moving papers

         The parties’ moving papers fill in some of the details of the events
   related in the complaint. Although a Rule 12(b)(6) motion is generally
   confined to the complaint, these facts provide useful background
   information; are referred to in both sides’ moving papers; do not seem to
   be seriously in dispute except as noted; and in any event consist largely
   of public documents appropriate for judicial notice.

         On December 21, 2011, the School District filed Tenure Charges of
   insubordination and “conduct unbecoming” against Knox. (Cohen Cert.
       ; see also P1. Opp. 10, ECF No. 10). Knox filed an Answer to the
   Ex. B
       5
   Tenure Charges, asserting six affirmative defenses, four of which were
   based on the First Amendment. (Cohen Cert. Ex. C).

         On October 26, 2012, some four months after Knox’s resignation,
   the parties settled the Tenure Charges. (Cohen Cert. Ex. D). Pursuant to


          As noted below, administrative proceedings were filed against Knox on
   December 21, 2011, and later settled. The Complaint, while claiming
   deprivation of due process, says little or nothing about the procedures that were
   followed.
   5     Certification of Jonathan F. Cohen, Esq., with exhibits, dated November
   20, 2013, submitted in support of the School Defendants’ motion to dismiss,
   ECF No. 6-2, cited as “Cohen Cert.”.


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   a Settlement Agreement, Knox agreed to resign and refund the $5,854.29
   she received as pay during her period of suspension. The parties agreed
   to forgo a formal hearing. (Id. at 2; P1. Opp. 10). On November 13, 2012,
   the Board approved the settlement. (Cohen Cert. Ex. D, attachment).

          On November 29, 2012, Administrative Law Judge JoAnn LaSala
   Candido (the “AU”) approved and so-ordered the Settlement. (Cohen
   Cert. Ex. D at 3). On December 14, 2012, the Commissioner of Education
   filed a final decision that approved the settlement and dismissed the
   Tenure Charge matter, subject to the parties’ compliance with the terms
   of the Settlement. (Cohen Cert. Ex. E).

          As a teacher, Knox was represented by the Union Township
   Education Association (“UTEA”). (Cohen Cert. ¶2)). Her employment was
   subject to the terms of a Collective Bargaining Agreement (“CBA”)
   between the UTEA and the Board. (A copy of the CBA is at Cohen Cert.
   Ex. A)). The CBA provides for resolution of disputes through a grievance
   procedure that culminates in binding arbitration. (Id. (citing CBA, Cohen
    Cert. Ex. A, Art. 3)).

          C.     This Action

           On October 2, 2013, Knox filed the complaint in this action. The
    complaint alleges ten causes of action: (1) constructive discharge; (2)
    violation of Due Process; (3) violation of the Free Speech Clause; (4)
    violation of the Free Exercise Clause; (5) violation of the Establishment
    Clause; (6) violation of the Equal Protection Clause; (7) breach of
    contract; (8) violation of 42 U.S.C.   § 1981; (9) intentional infliction of
    emotional distress against the School Defendants in their official and
    individual capacities; and (10) violation of the Free Exercise and
    Enjoyment of Religion Clauses of the New Jersey Constitution. Knox
    seeks declaratory and injunctive relief as well as compensatory and
    punitive damages. Specifically, Knox seeks “back pay, front pay,



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       reinstatement of tenure, compensation for emotional pain and suffering,
       reimbursement of costs, attorney fees,” and any other equitable relief this
       Court may award. (Compi. ¶2).

               The complaint asserts that the Court has federal-question
   jurisdiction over the claims involving the First and Fourteenth
   Amendments, 42 U.S.C. § 1983, and Title VII of the Civil Rights Act of
    1964, 42 U.S.C. § 2000e et seq. See 28 U.S.C. § 1331. Knox invokes the
    Court’s supplemental jurisdiction over the state law claims, which are
    related to the federal claims and arise from the same facts. See 28 U.S.C.
    § 1367.
         The School Defendants move to dismiss based on Younger
   abstention, the primary jurisdiction doctrine, failure to exhaust
   contractual remedies, failure to timely file a Tort Claims Act notice, and
   failure to state a claim under Federal Rule of Civil Procedure 12(b)(6).

         II.     DISCUSSION
                 A. Rule 12(b)(6) standard

          Rule 12(b)(6) provides for the dismissal of a complaint, in whole or
   in part, if it fails to state a claim upon which relief can be granted. The
   defendant, as the moving party, bears the burden of showing that no
   claim has been stated. Animal Science Products, Inc. v. China Minmetals
   Corp., 654 F.3d 462, 469 n. 9 (3d Cir. 2011). For the purposes of a
   motion to dismiss, the facts alleged in the complaint are accepted as true
   and all reasonable inferences are drawn in favor of the plaintiff. N.J.
   Carpenters & the Trustees Thereof v. Tishman Const. Corp. of N.J., 760
   F.3d 297, 302 (3d Cir. 2014).6

         Federal Rule of Procedure 8(a) does not require that a complaint
   contain detailed factual allegations. Nevertheless, “a plaintifi’s obligation


   6     See n. 7 & 8, infra, regarding motions to dismiss on grounds of
   abstention and primary jurisdiction.


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   to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than
   labels and conclusions, and a formulaic recitation of the elements of a
   cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
   (2007). Thus, the complaint’s factual allegations must be sufficient to
   raise a plaintiff’s right to relief above a speculative level, so that a claim
   is “plausible on its face.” Id. at 570; see also Umland v. PLANCO Fin.
   Sew., Inc., 542 F.3d 59, 64 (3d Cir. 2008). That facial-plausibility
   standard is met “when the plaintiff pleads factual content that allows the
   court to draw the reasonable inference that the defendant is liable for the
   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
   Twombly, 550 U.S. at 556). While “[t]he plausibility standard is not akin
   to a ‘probability requirement’. it asks for more than a sheer
                                     .   .




   possibility.” Iqbal, 556 U.S. at 678.

             B. Motion to dismiss based on Younger abstention (Counts
                II, III, IV, V, VI, VIII)
          The School Defendants’ motion to dismiss rests in part on the
    federalism-based abstention doctrine of Younger v. Harris, 401 U.S. 37
    (1971).7 Younger, they say, bars Knox’s Free Speech claim, Free Exercise
    claim, Establishment claim, and religion-based Equal Protection claim
    (Counts III, IV, V, and VI) because they were presented as defenses in the
    Tenure Charge proceeding, which was settled. (Def. Mot. 8). Although
    Knox did not present her due process claim (Count II), the race-portion of
    her Equal Protection claim (Count VI), and her Section 1981 claim


           Strictly speaking, Younger abstention is not analyzed under either Rule
    12(b)(1) or 12(b)(6). A Younger motion to dismiss is “in the nature of’ a 12(b)(6)
    motion in that matters outside of the pleadings are not to be considered.
    Gwynedd Properties, Inc. v. Lower Gwynedd Twp, 970 F.2d 1195, 1206 n. 18 (3d
    Cir. 1992); see also Dutton v. Court of Common Pleas of Philadelphia Domestic
    Relations Div., 215 F. Appx 161, 162 (3d Cir. 2007) (treating Younger
    abstention separately from a 12(b)(6) motion)). The complaint does not describe
    the administrative proceedings in any detail. Both sides’ papers, however, refer
    to them at length, and I have considered the filed pleadings and orders as
    matters appropriate for judicial notice. See generally Fed. R. Evid. 201.


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    (Count VIII) as defenses to the Board’s Tenure Charges, she could have
    done so. Therefore, say the defendants, these claims, too, should be
    dismissed. (Def. Mot. 8).

         The Settlement by its terms extended only to the Tenure Charge.
    The Board denies Knox’s assertion that they explicitly agreed to her
    reservation of rights as to other claims. It is undisputed, however, that
    the Board only settled the Tenure Charge, and did not obtain a general
    release as part of that Settlement.

          The Younger abstention doctrine requires federal courts to abstain
    from interfering with certain pending state proceedings. See Gonzalez v.
    Waterfront Comm’n of N.Y. Harbor, 755 F.3d 176, 180 (3d Cir. 2014). It
    applies rarely, “in only three ‘exceptional’ classes of cases: (1) ‘state
    criminal prosecutions,’ (2) ‘civil enforcement proceedings,’ and (3) ‘civil
    proceedings involving certain orders that are uniquely in furtherance of
    the state courts’ ability to perform their judicial functions.”’ Id. (citing
    Sprint Communications, Inc. v. Jacobs, 134 S. Ct. 584, 588 (2013)).

         Sprint marked a partial return to the origins of Younger as a
   doctrine prohibiting interference with state criminal or quasi-criminal
   proceedings. Id. at 181. Earlier case law, however, remains relevant. In
   particular, the court must consider three factors identified in Middlesex
   Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423 (1982); see
   Sprint, 134 S.Ct. at 584. Condensing somewhat, those three factors are
   that there be (1) an ongoing or pending state or administrative judicial
   proceeding (2) implicating important state interests (3) in which the
   plaintiff has an opportunity to raise the issues she seeks to litigate in
   federal court.

          There is no “ongoing” proceeding with which this action would
   interfere. The Tenure Charge was settled long ago, and the Commissioner
   adopted the settlement as a final decision.



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         Presumably (although it would have made little sense to do so)
   Knox could have appealed to State court the Commissioner’s decision to
   adopt the settlement to which she had agreed. To that extent, it might be
   said that she failed to exhaust her state appellate remedies. Based on
   that non-exhaustion, the School Defendants assert that Knox’s case is
   “pending” for purposes of Younger.

          Defendants rely primarily on O’Neill v. City of Philadelphia, 32 F.3d
    785, 791 (3d Cir. 1994), for the proposition that “where a state
    administrative proceeding has become final due to a federal claimant’s
    failure to exhaust administrative remedies, [the matter] remains ‘pending’
    for Younger purposes.” O’Neill, however, did not involve a fully negotiated
    and administratively approved settlement, like the one here. Rather, it
    was a case “where a coercive administrative proceeding ha[d] been
    initiated by the State in a state forum, where adequate state-court
    judicial review of the administrative determination [was] available to the
    federal claimants, and where the claimants [had] chosen not to pursue
    their state-court judicial remedies, but [had] instead sought to invalidate
    the State’s judgment by filing a federal action.” Id.

         Here, Knox is not attempting an end-run federal appeal of a state
    judgment. The Commissioner’s decision, via settlement, addressed the
    issues of tenure and repayment of salary. Knox does not sue to overturn
    or invalidate that settlement. Instead, she asserts claims for damages
    and other relief based on alleged deprivations of constitutional and other
    rights. The Board criticizes Knox for entering into a settlement and
    thereby preventing the entry of judgment. But no less than Knox, the
    Board agreed to compromise the Tenure Charge in a way that rendered
     state-court review moot. When settling the Tenure Charge, the Board
     could have attempted to obtain a more general release; it didn’t.

           The second Middlesex factor involves the importance of the State’s
     interest in the administrative proceeding. Teachers’ conduct and


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    competence are unquestionably important state interests. On the other
    hand, however, the Board entered into a settlement that vindicated that
    interest to its own satisfaction. The Commissioner found the settlement
    to be a responsible one, and approved it. Even now, the School
    Defendants state that “the Board had little choice but to accept what
    could only be perceived as a favorable settlement.” (Def. Reply Br. at 6)

          Finally, addressing the third Middlesex factor, I find abstention
    inappropriate because Knox did not have an adequate opportunity to
    bring her constitutional claims in the Tenure Charges proceeding. True,
    some of her current claims are analogous to defenses that Knox did
    assert or could have asserted to the Tenure Charge. But I have nothing
    before me to indicate that the administrative proceeding afforded Knox
    the opportunity to bring claims at all.

           Persuasive here is Frevost v. Twp. of Haziet, 159 F. App’x 396 (3d
    Cir. 2005). There, a police officer in Hazlet, New Jersey, was subjected to
    disciplinary proceedings and eventually dismissed. He sued the
    Township of Haziet and several of its employees under Section 1983.
    Even though the administrative disciplinary proceeding remained
    pending, and the federal case rested on the same facts, the Third Circuit
    found abstention unwarranted. It emphasized three factors: (1) the only
    opposing party in the administrative proceeding was the Township, and
    not its employees, who were parties to only the federal proceeding; (2) the
    only question in the administrative proceeding was whether the officer’s
    termination violated state statutes or regulations, not federal law; and (3)
    in the administrative proceedings, the officer could not obtain certain
    injunctive and monetary relief that he could obtain in federal court. Id. at
    398.

          Those three factors are present here as well. The only parties to
    Knox’s Tenure Charge settlement were Knox and the School District, not
    the whole range of parties sued here. The only question before the


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  Commissioner of Education was whether Knox’s conduct was
  “unbecoming” under state law. Here, the issues concern the School
   Defendants’ potential liability for violating Knox’s federal and state
   constitutional rights. In the foregone Tenure Charges proceeding, Knox
   could not have obtained anything like the injunctive and monetary relief
   that she seeks here.

         I observe that much of the School Defendants’ argument seems to
   revolve around the possibility of Knox’s obtaining in this action a
   particular subcategory of relief: an injunction restoring her to her
   teaching position. Whether such relief is barred by the Settlement is an
   issue I do not reach here. The larger point is that the claims are not
   barred. The facts here do not make out a case for Younger abstention.

            C. Motion to dismiss based on primary jurisdiction doctrine
               (Counts III, IV, V, VI, X)
          The School Defendants next argue that Counts III, IV, V, VI, and X
   must be dismissed because the Commissioner of Education had primary
   jurisdiction to determine whether Knox’s conduct violated New Jersey
   school law. (Def. Mot. 17).8 Their argument is not persuasive. This federal
   action does not seek a determination of whether Knox’s conduct was
   “unbecoming” within the meaning of New Jersey school law.

          The doctrine of primary jurisdiction applies to claims which
    contain some issue that lies “within the special competence of an
    administrative agency.” Reiter v. Cooper, 507 U.S. 258, 268 (1993). In a
    proper case, a court will refer the matter to the relevant agency and stay
    the court case pending the completion of administrative proceedings. Id.



    B      “The doctrine of primary jurisdiction, despite its name, does not
    implicate the jurisdiction of a federal court.” James v. Global Tel*Link Corp., No.
                                                 *5 (D.N.J. Sept. 8, 2014) (quoting
    13-4989-WJM-MF, 2014 WL 4425818, at
    Puerto Rico Mar. Shipping Auth. v. Valley Freight Sys., Inc., 856 F.2d 546, 549
    (3d Cir. 1988)). As in the case of Younger abstention, this motion to dismiss is
    seemingly best understood as a quasi-Rule 12(b)(6) motion.

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    The doctrine “serves to maintain uniformity and consistency, uphold the
    integrity of a regulatory scheme, and establish a ‘workable relationship
    between the courts and administrative agencies.’” Coyle v. Hornell
    Brewing Co., No. CIV.08-02797 (JBS), 2010 WL 2539386, at *3 (D.N.J.
    June 15, 2010) (quoting MCI Telecomms. v. Teleconcepts, Inc., 71 F.3d
    1086, 1105 (3d Cir. 1995)).

          The case law has developed a four-factor test for determining
    whether the primary jurisdiction doctrine applies:

          (1) whether the question at issue is within the conventional
              experience of judges or whether it involves technical or
              policy considerations within the agency’s particular field
              of expertise;
          (2) whether the question at issue is particularly within the
              agency’s discretion;
          (3) whether there exists a substantial danger of inconsistent
              rulings;
          (4) whether a prior application to the agency has been made.

    Id.

          Taking factors 1 and 2 together, I find that this case does not pose
    technical issues committed to an agency’s discretion. True, under
    N.J.S.A.   § 18A:6-9, the Commissioner has jurisdiction over “all
    controversies and disputes arising under the school laws.” But “[t]he
    statute clearly implies that where the controversy does not arise under
    the school laws, it is outside the Commissioner’s jurisdiction even
    though it may pertain to school personnel.” Gaibraith v. Lenape Reg’l
    High Sch. Dist., 964 F. Supp. 889, 895 (D.N.J. 1997) (internal quotation
    and citation omitted). And although constitutional, state law, and
    common law claims may “relate to [a plaintiff’s] public school
    employment, none of these claims arises under the school laws.” Id.
    (internal quotation and citation omitted) (ruling that Title VII, NJLAD,
    and breach of contract claims do not arise under school laws); see e.g.,



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    Stallone v. Camden Cnty. Technical Sch. Bd. of Educ., No. CIV. 12-7356
    RBK/JS, 2013 WL 5178728, at *8 (D.N.J. Sept. 13, 2013) (“Thus, while
    the [Office of Administrative Lawj may hear matters such as whether a
    school employee’s tenure rights are violated by a compensation decrease,
    it does not have jurisdiction to determine whether allegedly retaliatory
    employment decisions violate other law.”).

          Knox challenges the Board’s treatment of her, as well as its policies
    and practices, under the Free Speech Clause, Free Exercise Clause,
    Establishment Clause, Equal Protection Clause, and New Jersey’s Free
    Exercise and Enjoyment of Religion Clauses. Those are not school law
    claims, but rather state and federal constitutional claims. As such, they
    are not committed to the Commissioner’s jurisdiction and do not invoke
    any specialized administrative expertise. The question at issue is not
    whether Knox should be disciplined. Rather, this Court is asked to
    determine whether the School Defendants’ conduct violated Knox’s
    constitutional rights. The Commissioner’s jurisdiction does not
    encompass adjudication of claims at law or equity that the Board’s
    actions or policies violate constitutional law. Nor are such determinations
    committed to the Commissioner’s discretion.

          For similar reasons, there is little danger of inconsistent rulings.
    Should a particular form of relief—reinstatement, say—contravene the
    parties’ settlement agreement, that may be brought to this court’s
    attention. The mere existence of a settlement agreement, however, is not
    inconsistent with a potential finding of a constitutional violation.

           Nor are these claims the subject of a prior application. In her
    Answer to the Tenure Charges, Knox raised her constitutional
     contentions as defenses, not as claims. In any event, they were never
     adjudicated, so there is no danger of disrupting a past judgment.

           The doctrine of primary jurisdiction does not bar this action.



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              D. Rule 12(b)(6) motion to dismiss claim for constructive
                 discharge (Count I)
          The School Defendants next argue that Count I must be dismissed
    for failure to state a claim of “constructive discharge.” They assert (1)
    that constructive discharge is not an independent cause of action, but
    rather part of an employment discrimination claim; and (2) that Knox did
    not endeavor to remain employed and so her complaint fails to establish
    the elements of constructive discharge. (Def. Mot. 2 1—23).

          In response, Knox acknowledges that constructive discharge is not
    an independent cause of action. See Knabe v. Boury Corp., 114 F.3d 407,
    408 n. 1 (3d Cir. 1997) (“[Plaintiff’s] constructive discharge claim, as
    presented here, is not a separate ground for relief.”); Matos v. PNC Fin.
    Servs. Gip., No. CIV. 03-5320 (RBK), 2005 WL 2656675, at *8 (D.N.J.
    Oct. 17, 2005) (“However, constructive discharge is merely a form of
    adverse employment action, and is not an independent claim.”); Gilbert v.
    Phila. Media Holdings LLC, 564 F. Supp. 2d 429, 440 (E.D. Pa. 2008)
    (“Constructive discharge, however, is not an independent claim—it is a
    type of adverse employment action that may comprise part of a racial
    harassment claim.”)). The motion to dismiss Count I in its current form
    is therefore GRANTED.

          Pivoting, Knox contends that her claim, although entitled
    “constructive discharge,” is actually one for wrongful discharge and
    employment discrimination under Title VII. The Court, she says, should
    permit her to so amend the claim. (P1. Opp. 26). But such an
    amendment, say the School Defendants, would be futile, because Knox
    has failed to comply with Title Vii’s mandatory requirement that she have
    exhausted administrative remedies. (Def. Reply 10—11).

           “In Title VII actions, failure to exhaust administrative remedies is
    an affirmative defense in the nature of statute of limitations.” Williams v.
    Runyon, 130 F.3d 568, 573 (3d Cir. 1997) (internal citations omitted).



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   “Because failure to exhaust administrative remedies is an affirmative
   defense, the defendant bears the burden of pleading and proving that the
   plaintiff has failed to exhaust administrative remedies.” Id. (internal
   citations omitted). Under Third Circuit precedent, failure to exhaust
    administrative remedies under Title VII “is grounds for dismissal on a
    Rule 12(b)(6) motion, provided that the defendant has met the burden of
    pleading.   .   .   that the plaintiff has failed to exhaust administrative
    remedies,” Slingland v. Donahoe, 542 F. App’x 189, 191 (3d Cir. 2013)
    (internal quotations and citations omitted). Alternatively, the Third
    Circuit has “recognized that sua sponte dismissal may be appropriate
    where the plaintiff concedes that he failed to exhaust [administrative
    remedies.” Fernandez v. Rose Trucking, 429 F. App’x 145, 146 (3d Cir.
    2011) (internal citation omitted).

          Knox has made no assertion that she did exhaust her
    administrative remedies for purposes of Title VII. Because of her shift of
    theory, the School Defendants were not placed on notice that they would
    be required to plead and prove non-exhaustion. Under the
    circumstances, I will permit amendment only if presented with a proper
    motion under Rule 15. Before permitting an amendment, I will require a
    showing that amendment would not be futile—i.e., at least a plausible
    allegation that the exhaustion requirement is satisfied or should be
    excused.

                E. Rule 12(b)(6) motion to dismiss claim of due process
                   violation (Count II)
           In Count II, Knox alleges three varieties of due process violation:
    (1) a procedural due process violation in that the School Defendants failed
    to provide her with notice and a hearing; (2) a procedural due process
    allegation that the School Defendants’ practices and policies, or the
    standards under which Knox was prosecuted (presumably, in the Tenure
    Charge proceeding) are void for vagueness, on their face and as applied;



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   and (3) a substantive due process claim in that that the standards under
   which the District prosecuted Knox were overbroad. (P1. Opp. 27—28).

          Because at least the first claim is legally viable, I will deny the
   motion to dismiss Count II.

          Knox alleges that she “was entitled to due process of law before
    being suspended and before being constructively discharged from her
    employment with the Board.” (Compi. ¶56). Although her allegations
    regarding a due process violation are scant, they are sufficient to survive
    a Rule 12(b)(6) motion to dismiss.

          “The essential requirements of any due process claim are notice
    and the opportunity to be heard.” Zappan v. Pa. Bd. of Prob. & Parole,
    152 F. App’x 211, 220 (3d Cir. 2005). The notice and hearing must be “at
    a meaningful time and in a meaningful manner that is appropriate to the
    nature of the case.” Emri v. Evesham Twp. Bd. of Educ., 327 F. Supp. 2d
    463, 472 (D.N.J. 2004) (citing Armstrong v. Manzo, 380 U.S. 545, 552
    (1965); Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 313
    (1950)) (internal quotations omitted). As the Third Circuit has instructed:

          [Ijt is by now well established that due process, unlike some
          legal rules, is not a technical conception with a fixed content
          unrelated to time, place and circumstances. Due process is
          flexible and calls for such procedural protections as the
          particular situation demands. For instance, the Supreme
          Court has rejected the proposition that due process always
          requires the State to provide a hearing prior to the initial
          deprivation of property. Accordingly, resolution of the issue
          whether the administrative procedures provided [j are
          constitutionally sufficient requires analysis of the
          governmental and private interests that are affected.

    Biliski v. Red Clay Consol. Sch. Dist. Bd. of Educ., 574 F.3d 214, 220 (3d
    Cir. 2009) (internal quotations and citations omitted).

          The Supreme Court has laid out three factors courts must use in
    determining what process is constitutionally due prior to a deprivation of



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    rights:

              First, the private interest that will be affected by the official
              action; second, the risk of an erroneous deprivation of such
              interest through the procedures used, and the probable
              value, if any, of additional or substitute procedural
              safeguards; and finally, the Government’s interest.

    Gilbert v. Homar, 520 U.S. 924, 93 1—32 (1997) (quoting Mathews v.
    Eldridge, 424 U.S. 319, 335 (1976)) (called the “Mathews analysis”).

              A tenured public employee may have the right to certain
    procedures prior to suspension and termination. Among these are “oral
    or written notice of the charges against [her], an explanation of the
    employer’s evidence, and an opportunity to present [her] side of the
    story.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 546 (1985)
    (internal citations omitted). The Third Circuit has held that a tenured
    public teacher could not be suspended without some sort of hearing—
    either pre- or post-suspension. See Bradley v. Pittsburgh Bd. of Educ.,
    913 F.2d 1064, 1078 (3d Cir. 1990) (“We need not decide in this case
    whether [the teacher] was entitled to a pre-suspension hearing, as he
    contends, or whether a post-suspension hearing sufficed.           ..   .   [The
    teacher] received no hearing, either before or after the suspension, and
    hence if he was suspended, as the record suggests, he was deprived of
    due process.”).

              The exact level of process to which a tenured public employee is
    entitled, however, is context-specific. For example, the Third Circuit has
    held that a teacher’s “due process rights were not violated when he was
    placed on paid suspension without a prior hearing after allegations of
    serious misconduct and criminal activity in his classroom arose from
    credible sources.” Jerrytone v. Musto, 167 F. App’x 295, 30 1—02 (3d Cir.
    2006) (not precedential). In that context, a post-suspension hearing
    would have satisfied due process requirements.




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            What process is required, and when it is required, are questions
    better addressed on a motion for summary judgment. At that stage, the
    parties will have presented this Court with sufficient information to
    conduct a Mathews analysis.

            For now, Knox’s allegations are sufficient to surmount the
    threshold of a motion to dismiss. Knox alleges that, prior to her
    suspension, some or all of the School Defendants “interrogated” her
    (Compl. ¶21) and pressured her to abandon her religious beliefs (Id. ¶2 1).
    Thereafter, without further process, she was suspended with pay. (Id.
    ¶j24—25). Following a Board meeting, she was suspended without pay.
    (Id. ¶J27, 29). Knox generally alleges that she was not given the due
    process to which she was entitled under the School Defendants’ “charter,
    policies, procedures and rules.” (Id. ¶57). She also alleges that the School
    Defendants did not provide her “a copy of all materials relied on by
    Defendants in determining to effectively terminate [her] employment.” (Id.
    ¶57).

            If Knox was not given meaningful notice, or an opportunity to
    respond to the accusations against her, either before or after her
    suspension, that might amount to a violation of due process. As to the
    administrative proceedings that followed Knox’s suspension, the
    Complaint is virtually silent—possibly a major omission, but one that
    can be explored in discovery. Whether, as the School Defendants argue,
    due process requirements were satisfied by the meetings they had with
    Knox, the public Board meeting, and the Tenure Charge process itself, is
    a question better answered at the summary judgment stage. (Def. Mot.
    23—24). At that point, the Court will have before it the facts necessary for
    the context-specific Mathews analysis.

            Because the first theory asserted under Count II is going forward, I
    do not reach the second and third alternative theories. The discovery will
    not vary substantially depending on whether they are in or out of the


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    case, and they may, like the first theory, be addressed on summary
   judgment.

          The motion to dismiss Count II is DENIED.

             F. Failure to exhaust remedies under Collective Bargaining
                Agreement (Count VII)
          The School Defendants argue that Count VII of Knox’s complaint,
    alleging breach of contract, should be dismissed because Knox failed to
    exhaust administrative remedies available to her in a Collective
    Bargaining Agreement (“CBA”) between the Union representing her and
    the Board. (Def. Mot. 25; see Cohen Aff. Ex. A (CBA)). Defendants’
    contentions, irrespective of their legal merits, require development in
    discovery. They raise potential issues of fact better addressed at the
    summary judgment stage.

          The motion to dismiss Count VII is therefore DENIED.

             G. Failure to file a timely Tort Claims Act Notice for
                intentional infliction of emotional distress (Count IX)
          Because Knox has failed to comply with the notice requirements of
    the New Jersey Tort Claims Act, her claim for intentional infliction of
    emotional distress (“lIED”) will be dismissed.

          The NJ TCA section concerning the time for the presentation of
    claims provides:

          A claim relating to a cause of action for death or for injury or
          damage to person or to property shall be presented as
          provided in this chapter not later than the 90th day after
          accrual of the cause of action. After the expiration of six
          months from the date notice of claim is received, the
          claimant may file suit in an appropriate court of law. The
          claimant shall be forever barred from recovering against a
          public entity or public employee if:

          a. The claimant failed to file the claim with the public entity
             within 90 days of accrual of the claim except as otherwise
             provided in N.J.S.59:8-9; or
          b. Two years have elapsed since the accrual of the claim; or


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          c. The claimant or the claimant’s authorized representative
             entered into a settlement agreement with respect to the
             claim.

    N.J.S.A.   § 59:8-8. The TCA does provide for leave to file a late notice of
    claim under certain circumstances:

          A claimant who fails to file notice of his claim within 90 days
          as provided in section 59:8-8 of this act, may, in the
          discretion of a judge of the Superior Court, be permitted to
          file such notice at any time within one year after the accrual
          of his claim provided that the public entity or the public
          employee has not been substantially prejudiced thereby.
          provided that in no event may any suit against a public
          entity or a public employee arising under this act be filed
          later than two years from the time of the accrual of the
          claim.

    N.J.S.A.   § 59:8-9.
          Because Knox’s claim of intentional infliction of emotional distress
    sounds in state tort law, she was required to file a Notice. See, e.g., Velez
    v. City of Jersey City, 850 A.2d 1238, 1244 (N.J. 2004) (TCA’s notice
    requirements apply to both negligent and intentional torts); Garlanger v.
    Verbeke, 223 F. Supp. 2d 596, 602 (D.N.J. 2002) (state common law tort
    claims, including intentional infliction of emotional distress, are subject
    to TCA’s notice requirements).

          Knox does not deny that she failed to file a TCA Notice. Nor can
    she do so now. All of the alleged events occurred between October 11,
   2011 (when Knox was first approached by the Board about her Facebook
   comments (Compl. ¶20)) and October 26, 2012 (when the parties settled
   the Tenure Charges (Def Mot. 2; P1. Qpp. l0)).9 Therefore, at the latest,




   9      This is a generous interpretation of the nature and potential time frame
   of the TIED claim. Knox’s complaint does not specifically allege what conduct
   she considers “extreme, outrageous and beyond the bounds of moral decency.”
   (See Compi. ¶11 133—138.) That lack of specificity does not, however, bear on the
   requirement of filing a TCA Notice. And because Knox does not allege that the


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    Knox was required to file her Notice within 90 days of October 26, 2012—
    a period that expired two years ago. See N.J.S.A.     § 59:8-8. Likewise
    expired is the one-year period to seek leave from the Superior Court of
    New Jersey to file a late notice of claim. See N.J.S.A.    § 59:8-9.
          Knox attempts to excuse her failure to file a TCA Notice. She urges
    that “where claims are predicated upon the Constitution, the ‘injury’ is
    not subjected to the requirements of the Tort Claims Act.” (P1. Opp. 33
    (citing Lloyd v. Borough of Stone Harbor, 432 A.2d 572, 580 (N.J. Super.
    Ct. Ch. Div. 1981) (finding “that plaintiff’s claim, based on the New
    Jersey Constitution, is subject to the notice requirement imposed by the
    act.”))). That argument, though true enough, misses the point. The
    School Defendants seek to dismiss Knox’s tort claim, not her
    constitutional claims, based on her failure to file a TCA Notice.

           Because Knox has failed to comply with the TCA’s Notice
    requirement, the motion to dismiss Count IX of her complaint, alleging
    intentional infliction of emotional distress, is GRANTED.

              H. Rule 12(b)(6) motion to dismiss race-based Equal
                 Protection Claim (Count VI)
           The School Defendants argue that Knox has not sufficiently pled a
    claim of racial discrimination under the Fourteenth Amendment’s Equal
    Protection Clause.’° (Def. Mot. 30). Knox has failed to allege facts tending


    School Defendants took any action following the settlement of the Tenure
    Charges, that is the latest possible date for Knox’s TIED claim to have arisen.
     10     Both Knox and the School Defendants discuss the “class of one” theory
     of recovery for an Equal Protection claim. (Def. Mot. 31; P1. Opp. 35). Under that
     theory, a plaintiff who has been subjected to differential treatment may recover
     even though the differential treatment was not due to the plaintiff’s membership
     in a protected class. See, e.g., Village of Willowbrook v. Olech, 528 U.S. 562
     (2000) (employing a rational basis standard for such claims). It has no
     application here.
           First, the Supreme Court has disallowed such a class-of-one claim in the
     context of public employment. See Engquist v. Or. Dep’t of Agr., 553 U.S. 591,
     605 (2008) (“Thus, the class-of-one theory of equal protection—which

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    to suggest that individuals similarly situated (but for their race) were
    treated differently. Her racial discrimination claim will therefore be
    dismissed.

           Knox’s race-based Equal Protection claim is based on the following
    allegations: (1) that the School Defendants allowed other teachers who
    are not African American to express religious viewpoints on similar
    issues, but did not allow Knox, who is African-American, to do so
    (Compl. ¶J98, 102); (2) that the School Defendants did nothing to
    address racist comments on Knox’s Facebook page, and therefore “tacitly
    approved” the comments (Id. ¶J99—100); and (3) that the School
    Defendants suspended Knox, initiated tenure charges against Knox, and
    constructively discharged Knox because of her race (Id. ¶103).

          To state a claim under the Equal Protection Clause, a plaintiff
    must allege that (1) she is a member of a protected class; (2) that she was
    treated differently from similarly situated individuals; and (3) that this
    disparate treatment was based on her membership in the protected
    class. See Kasper v. Cnty. of Bucks, 514 F. App’x 210, 214 (3d Cir. 2013)
    (citing Andrews v. City of Philadelphia, 895 F.2d 1469, 1478 (3d Cir.
    1990)).

           In this case, Knox summarily states in her complaint that
    “Defendants have allowed other similarly-situated teachers to express


    presupposes that like individuals should be treated alike, and that to treat
    them differently is to classify them in a way that must survive at least
    rationality review—is simply a poor fit in the public employment context. To
    treat employees differently is not to classify them in a way that raises equal
    protection concerns.”).
            Second, Knox is not even alleging that she is a “class of one.” Hence it is
    puzzling that, in her opposition brief, she states that “Defendants concede that
    the ‘class of one’ theory applies to Plaintiffs’ [sic] circumstances.” (P1. Opp. 35).
    Knox’s Equal Protection claim is based on her allegation that the School
    Defendants treated Knox differently because of her membership in a protected
    class, i.e., her racial group or religious affiliation.


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    their views on the same issues as [Knoxi.” (Compl. ¶97). Knox also
    alleges that “Defendants allow other teachers who are not Christian or
    African American to express views that do not express a religious
    viewpoint on the same issues as [Knoxj.” (Id. ¶98). These allegations are
    conclusory, not factual. Knox has not identified any specific instance of a
    similarly situated teacher being treated differently. A blanket statement
    that such instances have occurred is not sufficient to state a claim. See,
    e.g., Sloan v. City of Pittsburgh, 110 F. App’x 207, 212 (3d Cir. 2004)
    (citing Simpson v. Kay Jewelers, 142 F.3d 639, 645 (3d Cir. 1998))
    (“Because [Plaintiff] failed to allege any evidence of a similarly situated
    employee treated differently, this claim must fail.”).

          By the same token, a bare allegation that the Tenure Charge and
    suspension were racially based does not, without more, state a claim.
    The complaint does not allege any connection between the school officials
    and the anonymous persons who posted on Knox’s personal Facebook
    page.” No cognizable claim arises from the allegation that the school
    officials failed to express “dismay” about those comments.

          Because Knox does not allege specific instances of similarly
    situated employees being treated differently, she fails to state a race-
    based discrimination claim under the Equal Protection Clause. Thus, the
    motion to dismiss the racial-discrimination component of Count VI is
    GRANTED. Because the parties do not address the religious component
    of the Equal Protection claim, I do not address it either; it is not included
    within this order of dismissal.




    11      I infer that these posts were the work of posters, known colloquially as
    “trolls,” who take advantage of the anonymity of the internet to post malicious
    or offensive material. That inference is not strictly necessary, however. When I
    say “anonymous” here, I mean that the complaint does not identifr the posters
    or draw any connection whatever between the posts and the School Defendants.


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                     I. Rule 12(b)(6) motion to dismiss claim under 42 U.S.C.
                                                                                            §
                        1981 (Count VIII)
         The School Defendants argue that Knox’s race discrimination claim
    under 42 U.S.C § 1981 must be dismissed because Knox fails to plead
    any facts to support her allegation that the School Defendants’ actions
    were racially motivated. (Def. Mot. 33). Because Knox does not plead
    sufficient facts to state a claim for a violation of Section 1981, Count VIII
    will be dismissed.

             Section 1981 provides that “[a]ll persons.           .   .   shall have the same
    right.   .   .   to make and enforce contracts,.   .   .   and to the full and equal
    benefit of all laws and proceedings for the security of persons and
    property as is enjoyed by white citizens.” 42 U.S.C. 1981. An action for
                                                          §
    damages under 42 U.S.C. § 1983 “constitutes the exclusive federal
    remedy for violation of the rights guaranteed in § 1981 by state
    governmental units.” McGovern v. City of Philadelphia, 554 F.3d 114, 121
    (3d Cir. 2009).

          Section 1981 has “been deemed to be ‘essentially coterminous with
    the Equal Protection Clause, in that ‘purposeful discrimination that
    violates the Equal Protection Clause of the Fourteenth Amendment will
    also violate § 1981.’” Williams v. Rowan Univ., No. CIV 10-6542
    RMB/AMD, 2014 WL 7011162, at *12 (D.N.J. Dec. 11, 2014) (quoting
    Guan N. v. N.Y. City Dep’t of Educ., 2014 WL 1275487, at *27 (S.D.N.Y.
    Mar. 24, 2014) (quoting Gratz v. Bollinger, 539 U.S. 244, 276 n. 23
    (2003)))). The elements of a Section 1981 violation are that “(1) [plaintiff]
    is a member of a protected class; (2) [plaintiff] satisfactorily performed
    [her] required duties; (3) [plaintiff] suffered an adverse employment
    action; and (4) the adverse employment action occurred under
    circumstances that raise an inference of discriminatory action.” Thomas
    v. City of Philadelphia, 573 F. App’x 193, 195—96 (3d Cir. 2014) (internal
    quotation and citation omitted).



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         Knox’s only race-based discrimination allegations, contained or
   incorporated by reference in Count VIII, consist of the following: (1) the
   School Defendants did not explicitly reject racist comments directed
   toward Knox by other users of Facebook (Compi. ¶21—22); (2) Knox has
   been subject to a hostile work environment because of her race (Id.
   ¶128); and (3) the Board discriminated against Knox because of her race
   by suspending her, bringing tenure charges against her, and
   constructively discharging her (Id. ¶103). As stated in Section II.H,
   immediately preceding, those allegations are not factual in nature; they
   are conclusory. They do not set forth a claim of racial discrimination
   under Section 1981, any more than they did under the Equal Protection
    clause.

          The motion to dismiss Count VIII will therefore be GRANTED.

       III.     CONCLUSION

              For the foregoing reasons, the motion to dismiss the complaint is
    GRANTED in part and DENIED in part.

          The motion to dismiss is GRANTED as to Count I (constructive
    discharge), the racial discrimination portion of Count VI (Equal
    Protection Clause), Count VIII (42 U.S.C.    § 1981), and Count IX
    (intentional infliction of emotional distress). Because this is an initial
    dismissal, it is without prejudice to the filing of a properly supported
    motion to amend the complaint within 30 days. See Phillips v. Cnty. of
    Allegheny, 515 F.3d 224, 245 (3d Cir. 2008).

          The motion to dismiss is DENIED as to Count II (Due Process),
     Count III (Free Speech Clause), Count IV (Free Exercise Clause), Count V
     (Establishment Clause), the religion portion of VI (Equal Protection
     Clause), Count VII (breach of contract), and Count X (New Jersey Free
     Exercise and Enjoyment of Religion Clauses).




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    Dated: February 23, 2015




                                           L
                                       Kevin McNulty
                                       United States District Judge




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